      Case 6:20-cv-00139-CEM-EJK Document 22 Filed 03/09/20 Page 1 of 2 PageID 72



                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

                                                    CASE No.: 6:20-cv-00139-CEM-EJK

MICHAEL R. MCNEIL,

         Plaintiff,
vs.

VOLUSIA POINT PROPERTIES, LLC,
d/b/a VOLUSIA POINT PLAZA, and RISCH
ENTERPRISES, INC., d/b/a SMOOTHIE KING,

      Defendants.
____________________________________________/

                           NOTICE OF SETTLEMENT SOLELY AS TO
                         DEFENDANT VOLUSIA POINT PROPERTIES LLC

         Plaintiff MICHAEL R. MCNEIL, by and through his undersigned counsel, hereby files this Notice

of Settlement, to advise the Court that Plaintiff has reached settlement of the claims in the above-styled

action, solely as to Defendant, VOLUSIA POINT PROPERTIES LLC. The Parties are in the process of

finalizing formal settlement.

Respectfully submitted this 9th day of March 2020


      By: /s/Joe M. Quick, Esq.
         Joe M. Quick, Esq.
         Florida Bar No.: 0883794
         Law Offices of Joe M. Quick, P.A.
         Counsel for Plaintiff
         1224 S. Peninsula Drive #619
         Daytona Beach, Florida 32118
         Tel: (386) 212-3591
         E-mail: JMQuickesq@gmail.com




                                                    1
    Case 6:20-cv-00139-CEM-EJK Document 22 Filed 03/09/20 Page 2 of 2 PageID 73



                                      CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of March 2020 I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system. I also certify that the aforementioned document is being served on
all counsel of record, corporation, or pro se parties via transmission of Notices of Electronic Filing generated
by CM/ECF or in some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Filing.



                                                  By: /s/Joe M. Quick, Esq.
                                                  Joe M. Quick, Esq.
                                                  Florida Bar No.: 0883794
                                                  Attorney for Plaintiff
                                                  Law Offices of Joe M. Quick, P.A.
                                                  1224 S. Peninsula Drive #619
                                                  Daytona Beach, Florida 32118
                                                  Tel: (386) 212-3591
                                                  E-mail: JMQuickesq@gmail.com




                                                       2
